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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. Cr. F 94-5011 LJO

12                      Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE FOR FILING RESPONSE;
13          v.                                          ORDER

14   ROBERT GONZALEZ,

15                      Defendant.                      Judge: Honorable LAWRENCE J. O’NEILL

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s November 13, 2014 order be
18   extended to February 20, 2015. The undersigned is awaiting responses from Mr. Gonzales and
19   the Probation Office. Counsel for the government, Assistant U.S. Attorney Kathleen A.
20   Servatius, graciously indicated that she has no objection.
21   Dated: January 6, 2015
22                                                        Respectfully submitted,
23                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
24

25                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
26                                                        Assistant Federal Defender
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 1
                                                ORDER
 2
            Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of November 13, 2014, may be filed on or before February
 4
     20, 2015.
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 6   IT IS SO ORDERED.
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        Dated:    January 7, 2015                          /s/ Lawrence J. O’Neill
 8                                                      UNITED STATES DISTRICT JUDGE

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